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                                              APPEAL NO. 24-142
                                 UNITED STATES COURT OF APPEALS
                                     FOR THE NINTH CIRCUIT
               PAM POE, by and through her parents and next friends Penny and Peter Poe, et al.,
                                                                                Plaintiffs-Appellees,
                                                       v.
               RAÚL LABRADOR, in official capacity as Attorney General of the State of Idaho, et al.,
                                                                             Defendants-Appellants.

                                On Appeal from the United States District Court
                                           for the District of Idaho
                                       Case No. 1:23-cv-00269-BLW

                  REPLY IN SUPPORT OF RULE 27-3 EMERGENCY MOTION FOR
                  STAY PENDING APPEAL (RELIEF REQUESTED BY FEB. 1, 2024)

              RAÚL R. LABRADOR              JONATHAN A. SCRUGGS          DAVID H. THOMPSON
              ATTORNEY GENERAL              HENRY W. FRAMPTON, IV        BRIAN W. BARNES
              ALAN HURST                    ALLIANCE DEFENDING           JOHN D. RAMER
              SOLICITOR GENERAL             FREEDOM                      COOPER & KIRK, PLLC
                                            15100 N. 90th Street         1523 New Hampshire
              JOSHUA N. TURNER              Scottsdale, AZ 85260         Avenue, NW
              CHIEF OF                      (480) 444-0020               Washington, DC 20036
              CONSTITUTIONAL                jscruggs@ADFlegal.org        202-220-9600
              LITIGATION AND POLICY         hframpton@ADFlegal.org       dthompson@cooperkirk.
              JAMES E. M. CRAIG             JOHN J. BURSCH               com
              Chief, Civil Litigation and   LINCOLN DAVIS WILSON         bbarnes@cooperkirk.com
              Constitutional Defense        ALLIANCE DEFENDING           jramer@cooperkirk.com
              OFFICE OF ATTORNEY            FREEDOM
              GENERAL                       440 First Street, NW,
              700 W. Jefferson St.,         Suite 600
              Suite 210                     Washington, DC 20001
              Boise, ID 83720               (202) 393-8690
              (208) 334-2400                jbursch@ADFlegal.org
              alan.hurst@ag.idaho.gov       lwilson@ADFlegal.org
              josh.turner@ag.idaho.gov
              james.craig@ag.idaho.gov
                                               Counsel for Appellants
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                                                 INTRODUCTION

                    States across the country are in the middle of addressing important matters of

             medical practice. Idaho’s law, like that of twenty-one other states, seeks to protect

             children from experimental medical procedures that cause irreversible consequences.

             Other states have taken different approaches. And rather than let the democratic

             process handle these hotly disputed medical practices—which all acknowledge present

             risks to minors—the district court stepped in and silenced one side of the debate. This

             Court should allow the law to take effect.

                    Idaho is right on the merits. Rational-basis review applies because the law

             regulates procedures, not sex or transgender status. And it advances the State’s interest in
             protecting children from dangerous procedures. Plaintiffs’ contrary arguments would

             subject every law that mentions sex—including countless medical regulations—to

             intermediate scrutiny. They would then impose a least-restrictive-means test, turning
             intermediate scrutiny into strict scrutiny. The Constitution imposes no such standard.

                    On due process, there is no fundamental right to use new and experimental

             medical procedures. Nor can Plaintiffs justify a parental right to everything “generally

             accepted” by certain medical groups. That would constitutionalize nearly all

             experimental medical care for minors and place state medical regulation in the hands of

             unelected advocacy groups. There is no such right in this Nation’s history or tradition.
                    The other stay factors favor Idaho as well. It serves the public interest to uphold

             laws protecting minors. Plaintiffs, meanwhile, cannot show irreparable harm,

             particularly when most children diagnosed with gender dysphoria desist from feelings
             of incongruence on their own. Beyond all this, the district court’s injunction ignored


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             Article III and improperly enjoined the entire law. Plaintiffs’ efforts to justify facial relief

             fail when even their experts agree many children should not access the regulated

             procedures. This Court should stay the injunction pending appeal.

                                                     ARGUMENT
             I.     Idaho Is Likely To Succeed On The Merits.

                    A.     The VCPA satisfies rational basis review.

                    Idaho will likely succeed in vindicating Idaho’s regulating certain medical

             procedures used on children. Such health and welfare regulations have “a strong

             presumption of validity,” Heller v. Doe, 509 U.S. 312, 319 (1993), particularly in areas of

             “medical and scientific uncertainty.” Gonzales v. Carhart, 550 U.S. 124, 163 (2007). States
             have a deep interest “in protecting the integrity and ethics of the medical profession,”

             Washington v. Glucksberg, 521 U.S. 702, 731 (1997), and “preserving and promoting the

             welfare of the child,” Schall v. Martin, 467 U.S. 253, 265 (1984). This is one of “the
             historic police powers of the States,” Medtronic, Inc. v. Lohr, 518 U.S. 470, 485 (1996),

             and regulating medicine is “a field which the States have traditionally occupied,” Wyeth

             v. Levine, 555 U.S. 555, 565 & n.3 (2009), including “the administration of drugs by
             health professionals.” Conant v. Walters, 309 F.3d 629, 639 (9th Cir. 2002).

                    The VCPA’s regulating specific procedures for minors falls squarely within that

             historic power and easily passes rational-basis review. L.W. by & through Williams v.

             Skrmetti, 83 F.4th 460, 473 (6th Cir. 2023). Plaintiffs’ attempts to invoke heightened

             scrutiny contradict controlling precedent.

                    No Classification Based on Transgender Status. Plaintiffs say that the VCPA
             “classifies ‘based on transgender status’” because it regulates the use of these medical


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             procedures “only when it affirms a gender different from sex assigned at birth,” which

             they say is “the defining trait of being transgender.” Resp. 5 (citing App.46). But that

             conflates the treatment of gender dysphoria with transgender identity. Obtaining these

             procedures is not “the defining trait of being transgender.” Cf. id. Regulating a

             procedure that only a member of a protected class “can undergo does not trigger

             heightened constitutional scrutiny” absent a showing of “‘invidious discrimination.’”

             Dobbs v. Jackson Women’s Health Org., 597 U.S. 215, 236 (2022) (quoting Geduldig v. Aiello,

             417 U.S. 484, 496 n.20 (1974)). And there is no invidious discrimination here. The

             VCPA regulates certain procedures because of their risks, just as many other states and

             countries have done. See Mot. § I.A.2. The growing international consensus shows that
             there are good reasons to worry about these procedures.

                    Nor did this Court say otherwise in Karnoski v. Trump, 926 F.3d 1180 (9th Cir.

             2019) (per curiam). Karnoski specifically declined to address the argument “that gender
             dysphoria and transition are closely correlated with being transgender.” Id. at 1201 n.18.

             Even in the district court decision in M.H. v. Jeppesen, now on appeal, the plaintiffs

             recognized “that, on its face, Defendants’ policy appears gender-neutral and directed at

             a medical condition and treatment therefor.” 2023 WL 4080542, at *11 (D. Idaho June

             20, 2023). Plaintiffs’ proxy-discrimination argument fails as a matter of law.

                    Plaintiffs counter that the VCPA treats similarly situated persons differently
             because “a cisgender male adolescent can receive testosterone to affirm his male gender

             identity, but a transgender male adolescent[1] cannot.” Resp. 5 (citing Mot. 5). But all

             1
              Idaho assumes “transgender male adolescent” refers to a female child who identifies
             as male.


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             minors may receive hormones to treat physical conditions—such as Kleinfelter syndrome.

             Those procedures present different risks, different side-effects, and different results. In

             medicine, patients who seek to alter their natural biological development based on

             gender identity are not similarly situated to patients with objectively verifiable

             conditions. The VCPA regulates those procedures, not protected traits.

                    No Sex-Based Classification. The VCPA also does not impose a sex
             classification. The VCPA does not “work[] to” anyone’s “disadvantage” based on sex
             because it does not impose any burden the plaintiff “would not bear” if they were the

             opposite sex. Miss. Univ. for Women v. Hogan, 458 U.S. 718, 723 n.8 (1982) (cleaned up).

             Neither sex can undergo the regulated procedures. So the law does not “turn[ ] on” sex

             or use “sex at birth” to distribute access unequally. Contra Resp. 7 (citing Brandt v.

             Rutledge, 47 F.4th 661, 669 (8th Cir. 2022)). The law references sex to identify certain

             procedures and risks, then regulates them equally. “Such an across-the-board regulation

             lacks any of the hallmarks of sex discrimination.” L.W., 83 F.4th at 480; accord Eknes-

             Tucker v. Governor of Ala., 80 F.4th 1205, 1227 (11th Cir. 2023). Plaintiffs’ contrary view

             would subject every sex-specific medical decision by government actors to heightened
             scrutiny—from state-employed doctors opting not to treat prostate cancer in certain

             ways to programs funding breastfeeding equipment for women but not men.

                    That reasoning also contradicts Dobbs, which holds that “regulation of a medical

             procedure that only one sex can undergo” is not a suspect sex classification, but rather

             is judged by “the same standard of review as other health and safety measures.” 597

             U.S. at 236–37. Plaintiffs try to limit Dobbs and Geduldig to pregnancy, but Plaintiffs do

             not engage with their reasoning or holdings. Namely, “[i]f a law restricting a medical


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             procedure that applies only to women does not trigger heightened scrutiny, as in Dobbs

             and Geduldig,” then the VCPA, which regulates “medical procedures unique to each sex,

             do[es] not require such scrutiny either.” L.W., 83 F.4th at 481. So it is no surprise that

             the Eighth Circuit has granted en banc review of the aberrant panel decision on which

             Plaintiffs rely. Order, Brandt v. Griffin, No. 23-2681 (8th Cir. Oct. 6, 2023).

                    Finally, Plaintiffs incorrectly charge the VCPA with unlawful sex stereotyping.

             “Physical differences between men and women … are enduring,” United States v.

             Virginia, 518 U.S. 515, 533 (1996), and “not a stereotype.” Tuan Anh Nguyen v. INS, 533

             U.S. 53, 68 (2001). In fact, any stereotypes implicated here are inherent to the concept

             of gender dysphoria, the diagnosis of which turns on stereotypes—for example,
             whether a male child rejects “typically masculine toys, games, and activities” and avoids

             “rough-and-tumble play.” App.591. The VCPA “does not further any particular gender

             stereotype,” but rather regulates particular procedures for a diagnosis that turns on
             those stereotypes. Eknes-Tucker, 80 F.4th at 1229. Those medical regulations are within

             Idaho’s sovereign prerogatives and do not invite heightened review.

                    B.      The VCPA satisfies intermediate scrutiny.

                    Rational basis is the proper standard, but the VCPA is constitutional even under

             heightened scrutiny. Plaintiffs’ contrary arguments commit three basic errors. First, they

             urge unjustified deference to the district court’s legislative fact-finding. Second, they
             ignore evidence that medicalized transition carries risks, lacks benefits, and involves

             unknowns. And third, they conflate strict and intermediate scrutiny.

                    No Deference for Legislative Facts. This case turns more on legislative facts
             than adjudicative ones. Adjudicative facts “are simply the facts of the particular case”—


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             things like “who did what, where, when, how, and with what motive or intent.” Fed. R.

             Evid. 201, Advisory Comm. Notes. By contrast, legislative facts “have relevance to legal

             reasoning and the lawmaking process.” Id. They include the court’s evaluation of non-

             party-specific evidence—like scientific studies—bearing on the constitutionality of a

             law or practice. Lockhart v. McCree, 476 U.S. 162, 168–71 & n.3 (1986).

                    Here, the science of medicalized transition constitutes legislative facts, as

             Plaintiffs presented no medical evidence specific to them. Legislative facts are not

             subject to clear-error review. Menora v. Ill. High Sch. Ass’n, 683 F.2d 1030, 1036 (7th Cir.

             1982). They are too intertwined with the law’s constitutionality for any deference to be

             practical or desirable. Lockhart, 476 U.S. at 168 n.3 (noting risk of inconsistent
             decisions); accord Dunagin v. City of Oxford, 718 F.2d 738, 748 n.8 (5th Cir. 1983) (en

             banc). And this Court wouldn’t owe much deference anyway to “a written record like

             this one and the dueling affidavits that accompany it.” L.W., 83 F.4th at 488.
                    Medicalized Transition Is Experimental and Dangerous. Plaintiffs ignore
             that the regulated interventions have different risk profiles depending on their use. The

             record shows that Idaho had “good reason” for regulating interventions “differently

             when they are used to treat a discordance between an individual’s sex and sense of

             gender identity than when they are used for other purposes.” Eknes-Tucker, 80 F.4th at

             1234–35 (Brasher, J., concurring) (evaluating similar law under heightened scrutiny).
                    Start with surgical interventions. The Endocrine Society recommends against

             genital surgery in minors, but Plaintiffs’ expert’s clinic allows them. App.167, 623. So it

             makes sense for Idaho to regulate them. Likewise, Idaho’s expert, Dr. Weiss, cited five

             studies specifically evaluating the prevalence of post-surgical complications in “gender-


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             affirming” mastectomies. App.410–11. But Plaintiffs would force the State to treat

             these risky surgeries the same as removing a cancerous breast.

                    Similar concerns exist for cross-sex hormones and puberty blockers. Dr. Weiss

             cited peer-reviewed studies evaluating risks specific to the cross-sex uses of estrogen and

             testosterone. App.406–11. Fertility is a classic example: there’s no evidence that giving

             a male testosterone impairs his fertility, but giving a female testosterone does. App.407.

             So a state concerned about effects on children’s fertility would regulate these uses

             differently. Plaintiffs’ own experts admit to unknowns in how blocking puberty at its

             onset affects brain development. App.283, 311, 1024, 1026. They also agree the science

             doesn’t prove puberty blockers alleviate the distress of gender dysphoria. App.909–11,
             984–85. And they even agree the evidence is “very low quality” but try to say that is a

             “term of art” that doesn’t mean what it says. Resp. 13.

                    Confusing Strict and Intermediate Scrutiny. At its core, Plaintiffs’ argument
             depends on a strict rather than intermediate scrutiny standard. This works in two ways.

             First, Plaintiffs say the VCPA is underinclusive because it does not regulate every

             medical intervention with some of the same risks. Resp. 11. But “a law need not deal
             perfectly and fully with an identified problem” to materially advance the government’s

             interests. Contest Promotions, LLC v. City & Cnty. of S.F., 874 F.3d 597, 604 (9th Cir.

             2017). Even if a medical procedure involves risk of impaired fertility, its probable

             benefit may outweigh those risks—which is not the case with medicalized transition.

                    Second, Plaintiffs argue the Act is overinclusive because some jurisdictions

             restrict certain medicalized transition interventions to clinical trials rather than

             prohibiting them altogether. Resp. 15. But intermediate scrutiny does not impose a


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             least-restrictive-means test, and the existence of alternatives “does not serve to

             invalidate the policy.” Clark ex rel. Clark v. Ariz. Interscholastic Ass’n, 695 F.2d 1126, 1132

             (9th Cir. 1982). That’s particularly true here since the European policies are nearly as

             restrictive as Idaho’s, no Plaintiff claims to be involved in a clinical trial, and Plaintiffs

             offer no evidence of any clinical trials underway in Europe. Besides, heightened scrutiny

             does not limit Idaho’s policy choice to protect children from the risks at issue.

                    C.      The VCPA does not violate due process.

                    Plaintiffs’ due process claim is also meritless. There is no due process right for

             anyone—adult or child—to demand access to an experimental drug or treatment that

             a state has made unlawful. See Glucksberg, 521 U.S. at 721; Nat’l Ass’n for Advancement of
             Psychoanalysis v. Cal. Bd. of Psychology, 228 F.3d 1043, 1050 (9th Cir. 2000). Regulating the

             practice of medicine falls squarely within states’ sovereign police powers, see Whalen v.

             Roe, 429 U.S. 589, 603 n.30 (1977), and the Constitution’s regard for the parental right
             to rear their children is in no tension with a state’s right to regulate the practice of

             medicine. L.W., 83 F.4th at 475.

                    Plaintiffs ignore these well-established principles and claim a parental right “that

             is otherwise generally available and accepted in the medical community.” Resp. 17–18 (emphasis

             added). But Plaintiffs’ theory turns medical regulation on its head: instead of regulators

             deciding which treatments medical professionals may perform, the “medical
             community” would decide which treatments a regulator may prohibit. Respecting the

             states’ traditional role as the regulator of medicine does not, as Plaintiffs worry, deprive

             parents from “the entirety of modern medicine” in selecting care for their children.




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             Resp. 16. It simply means that the Constitution does not require Idaho “to view these

             treatments in the same way as the majority of experts.” L.W., 83 F.4th at 478.

             II.    The Equities Favor Idaho.

                    The equities favor Idaho: a stay allows it to enforce a law regulating interventions

             for which the “risks…outweigh the possible benefits.” App.452. And though Plaintiffs

             say they benefit from these interventions, the science says otherwise, and Plaintiffs did

             not present the medical evidence this Court requires to show irreparable harm. Doe v.

             Snyder, 28 F.4th 103, 112–13 (9th Cir. 2022) (requiring evidence from treating

             physician). Any harm Plaintiffs face is also mitigated, and not irreparable, because

             Plaintiffs can access the sought-after drugs in neighboring states. A stay also serves the
             public interest, as set by the “responsible public officials” who passed the law. Golden

             Gate Rest. Ass’n v. City & Cnty. of S.F., 512 F.3d 1112, 1127 (9th Cir. 2008).

             III.   The Injunction Is Overbroad.
                    The district court’s injunction awards facial relief without the necessary finding

             that all applications of the law are unconstitutional; it enjoins provisions that Plaintiffs

             lack standing to challenge; and it unnecessarily applies to parties not before the Court.

                    Plaintiffs conflate the standard for facial relief—the law must be “unconstitu-

             tional in all of its applications”—with the means-end fit required by intermediate

             scrutiny. Wash. State Grange v. Wash. State Republican Party, 552 U.S. 442, 449 (2008). They
             say the purported lack of a “close means-end fit” permits a facial injunction. Resp. 19.

             But the Supreme Court has warned against confusing the “breadth of the remedy” with

             the “substantive rule of law necessary to establish a constitutional violation,” as
             Plaintiffs have done here. Bucklew v. Precythe, 139 S. Ct. 1112, 1127 (2019).


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                    Next, Plaintiffs confuse the facial-relief standard with standing. Their analogy

             shows this: they say a court could facially enjoin a law banning all girls from playing

             sports even though some girls don’t play sports. That’s because any application of the

             law would fail intermediate scrutiny, so a facial injunction would pass muster. The law

             here is different: it prohibits interventions that all agree should not be available on

             demand. App.623. But without the Act, patients may receive them—even genital

             surgeries that Dr. Connelly’s clinic allows against the Endocrine Society guidelines.

             App.167, 623. So enjoining all applications of the Act is inappropriate.

                    Plaintiffs then gloss over the problem with enjoining provisions they lack

             standing to challenge. They don’t seek surgery, but they challenge the surgery regulation
             because it appears in the same “section” as the estrogen regulation. Resp. 23. This

             doesn’t work because a party cannot “leverage its injuries under certain, specific

             provisions to state an injury under the … ordinance generally.” Get Outdoors II, LLC v.
             City of San Diego, 506 F.3d 886, 892 (9th Cir. 2007).

                    Finally, Plaintiffs say a facial injunction is necessary to give them complete relief.

             Resp. 21. But they do not explain why they could not present their doctors—themselves

             ethically bound to confidentiality—with a sealed order allowing Plaintiffs to access the

             relevant hormones. That would resolve the alleged injury entirely. Even the case

             Plaintiffs cite—Easyriders Freedom F.I.G.H.T. v. Hannigan, 92 F.3d 1486 (9th Cir. 1996)—
             narrowed the district court’s injunction because it imposed “a more substantial burden”

             than necessary. Id. at 1498. At the very least, the same should happen here.

                                                   CONCLUSION
                    The Court should stay the injunction pending appeal.


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             Dated: January 26, 2024                Respectfully submitted,

              RAÚL R. LABRADOR                        /s/ Joshua N. Turner
              ATTORNEY GENERAL                        JOHN J. BURSCH
              ALAN HURST                              LINCOLN DAVIS WILSON
              SOLICITOR GENERAL                       ALLIANCE DEFENDING FREEDOM
                                                      440 First Street, NW, Suite 600
              JOSHUA N. TURNER                        Washington, DC 20001
              CHIEF OF CONSTITUTIONAL                 (202) 393-8690
              LITIGATION AND POLICY                   jbursch@ADFlegal.org
              JAMES E. M. CRAIG                       lwilson@ADFlegal.org
              Chief, Civil Litigation and             DAVID H. THOMPSON
              Constitutional Defense                  BRIAN W. BARNES
              OFFICE OF ATTORNEY GENERAL              JOHN D. RAMER
              700 W. Jefferson St., Suite 210         COOPER & KIRK, PLLC
              Boise, ID 83720                         1523 New Hampshire Avenue, NW
              (208) 334-2400                          Washington, DC 20036
              alan.hurst@ag.idaho.gov                 202-220-9600
              josh.turner@ag.idaho.gov                dthompson@cooperkirk.com
              james.craig@ag.idaho.gov                bbarnes@cooperkirk.com
              JONATHAN A. SCRUGGS                     jramer@cooperkirk.com
              HENRY W. FRAMPTON, IV
              ALLIANCE DEFENDING FREEDOM
              15100 N. 90th Street
              Scottsdale, AZ 85260
              (480) 444-0020
              jscruggs@ADFlegal.org
              hframpton@ADFlegal.org

                                            Counsel for Appellants




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                                        CERTIFICATE OF COMPLIANCE

                    This reply complies with Cir. R. 27-1(d) because it contains 10 pages, excluding

             parts exempted by Fed. R. App. P. 27(a)(2)(B) and 32(f).

                    This reply complies with Fed. R. App. P. 32(a)(5) and 32(a)(6) because it has been

             prepared in Word 365 using a proportionally spaced typeface, 14-point Garamond.



                                                      /s/Joshua N. Turner
                                                      Joshua N. Turner
                                                      Counsel for Appellants


             January 26, 2024




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                                           CERTIFICATE OF SERVICE

                    I hereby certify that on January 26, 2024, I electronically filed this Reply in

             Support of Emergency Motion For Stay Pending Appeal with the Clerk of the Court

             for the United States Court of Appeals for the Ninth Circuit using the ACMS system,

             which will accomplish service on counsel for all parties through the Court’s electronic

             filing system.



                                                     /s/Joshua N. Turner
                                                     Joshua N. Turner
                                                     Counsel for Appellants


             January 26, 2024




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